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                                                          December 14, 2023
 By CM/ECF
 The Honorable Gregory B. Williams, U.S.D.J.
 J. Caleb Boggs Federal Building
 844 N. King Street
 Unit 26, Room 6124
 Wilmington, Delaware 19801-3555

      Re: No Labels v. NoLabels.com Inc.,
          Civil Action No. 1:23-cv-01384-GBW (D. Del.)

Dear Judge Williams:

        In advance of the hearing scheduled for tomorrow, December 15, 2023 at 10:30 a.m. in
the above-captioned matter, I write on behalf of plaintiff No Labels (“Plaintiff”) to enclose
supplemental information in further support of Plaintiff’s Motion for Temporary Restraining
Order, filed on December 4, 2023 (the “Motion”). D.I. 3.

          Enclosed herewith please find:

             •   Second Declaration of Leslie E. Hartford in Support of Motion for Temporary
                 Restraining Order and/or Motion for Preliminary Injunction, with Attachments A
                 through G;

             •   Declaration of Liz Morrison, with Exhibit A;

             •   Declaration of Samantha Brooks, with Exhibit A; and

             •   Declaration of Nicholas Connors, with Attachments A through D.

          Counsel are available if the Court has any questions.

                                              Respectfully submitted,

                                              /s/ William E. Green, Jr.

                                              William E. Green, Jr. (Bar No. 4864)
                                              Halloran Farkas + Kittila LLP

                                              Counsel for Plaintiff No Labels

cc:      Counsel of Record via CM/ECF
